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                                   NOTICE OF HEARING




                       UNITED STATES DISTRICT COURT
                                        FOR THE
                                  DISTRICT OF VERMONT


Ralph Sitts, et al.,

         v.                                         Case No. 2:16-cv-287

The Dairy Farmers of America, Inc., et al.


TAKE NOTICE that the above-entitled case has been scheduled at 9:30 a.m., on, Monday,
August 10, 2020, in Burlington, Vermont, before Honorable Christina Reiss, District Judge,
for a Charge Conference via video conference.



Location: video conference                         JEFFREY S. EATON, Clerk
                                                   By: /s/ Jennifer B. Ruddy
                                                   Deputy Clerk
                                                   6/26/2020



TO: Dana A. Zakarian, Esq.                         The court has allotted a full day for this hearing.
Elizabeth Reidy, Esq.
Gary Franklin, Esq.
Joel Beckman, Esq.
William Nystrom, Esq.
Michael Paris, Esq.
Ian Carleton, Esq.
Jennifer Giordano, Esq.
Margaret Zwisler, Esq.
W. Todd Miller, Esq.
Elyse Greenwald, Esq.
Alfred Pfeiffer, Jr., Esq.
Johanna Masse, Court Reporter
